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                                           UNITED STATES DISTRICT COURT
                                              DISTRICT OF MARYLAND
                                                           OFFICE OF THE CLERK

                                                                                                                  Felicia C. Cannon, Clerk of Court
                                                                                                               Elizabeth B. Snowden, Chief Deputy
Reply to Southern Division Address                                                                                  Catherine Stavlas, Chief Deputy


                                                              November 14, 2017


         Circuit Court for Prince George’s County, Maryland
         14735 Main Street
         Upper Marlboro, MD 20772

                   RE:        Alston v. ABC Financial Services, Inc. et al
                              Civil Action No. TDC-17-2748
                              CAL-17-18362

         Dear Clerk:

                 On November 13, 2017, the Honorable Theodore D. Chuang signed an order remanding
         the above-entitled case to your Court. Enclosed is a certified copy of the order, together with a
         certified copy of the docket entries. We have discontinued our previous practice of sending the
         state court original papers which were filed in this Court. Should you need certified copies of
         any papers you may contact the Deputy Clerk below.

                   Kindly acknowledge receipt of the enclosed on the duplicate copy of this letter.

                   Thank you for your cooperation in this matter.

                                                                                 Sincerely,

                                                                                 Felicia C. Cannon, Clerk

                                                                       By:
                                                                                 Deputy Clerk

         Enclosures

         ACKNOWLEDGED RECEIPT THIS ______ DAY OF ______________ 20____.
         Remand Letter to Court (Rev. 9/4/2001)




          Northern Division • 4228 U.S. Courthouse • 101 W. Lombard Street • Baltimore, Maryland 21201• 410-962-2600
          Southern Division • 200 U.S. Courthouse • 6500 Cherrywood Lane • Greenbelt, Maryland 20770 • 301-344-0660

                                             Visit the U.S. District Court’s Website at www.mdd.uscourts.gov
